       Case 3:10-cv-03561-WHA Document 95 Filed 03/17/11 Page 1 of 3



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19                                  UNITED STATES DISTRICT COURT

20                             NORTHERN DISTRICT OF CALIFORNIA

21                                     SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                                 Case No. CV 10-03561 WHA
23                     Plaintiff,                         DECLARATION OF MARC DAVID
                                                          PETERS IN SUPPORT OF
24          v.                                            ORACLE’S OPENING CLAIM
                                                          CONSTRUCTION BRIEF
25   GOOGLE INC.
                                                          Dept.: Courtroom 9, 19th Floor
26                     Defendant.                         Judge: Honorable William H. Alsup
                                                          Tutorial: April 6, 2011, 1:30 p.m.
27                                                        Hearing: April 20, 2011, 1:30 p.m.
28
     PETERS DECLARATION IN SUPPORT OF ORACLE’S OPENING CLAIM CONSTRUCTION BRIEF
     CASE NO. CV 10-03561 WHA
     pa-1450902
          Case 3:10-cv-03561-WHA Document 95 Filed 03/17/11 Page 2 of 3



 1           I, Marc David Peters, declare as follows:
 2           I am a partner at Morrison & Foerster LLP and am counsel of record to Plaintiff Oracle
 3   America, Inc. I have personal knowledge of the matters set forth herein and, if called to testify,
 4   could and would testify competently to the following.
 5           1.     Attached hereto as Exhibit 1 is a true and correct copy of a Patent Examiner
 6   Interview Summary dated October 13, 1999 from the prosecution history of U.S. Patent No.
 7   6,061,520.
 8           2.     Attached hereto as Exhibit 2 is a true and correct copy an Amendment dated
 9   October 18, 1999 from the prosecution history of U.S. Patent No. 6,061,520.
10           3.     Attached hereto as Exhibit 3 is a true and correct copy of relevant pages from the
11   MICROSOFT PRESS COMPUTER DICTIONARY (2d ed. 1994) and WEBSTER’S NEW WORLD
12   DICTIONARY OF COMPUTER TERMS (5th ed. 1994).
13           4.     Attached hereto as Exhibit 4 is a true and correct copy of original claims as filed in
14   U.S. Patent Application No. 07/994,655, the original application for U.S. Patent No. RE38,104.
15           5.     Attached hereto as Exhibit 5 is a true and correct copy of Section 2106.01 from the
16   MANUAL OF PATENT EXAMINING PROCEDURE § 2106.01, 8th Edition, Revision 6, dated
17   September 2007. This section remains unchanged in the current edition of the MPEP, 8th
18   Edition, Revision 8 (July 2010).
19           6.     Attached hereto as Exhibit 6 is a true and correct copy of a Reissue Application
20   Declaration and Power of Attorney by Inventor of James Gosling, dated November 19, 1996,
21   from the prosecution history of U.S. Patent No. RE38,104.
22           7.     Attached hereto as Exhibit 7 is a true and correct copy of the Examination
23   Guidelines for Computer-Related Inventions dated February 28, 1996, available at
24   www.uspto.gov/web/offices/pac/dapp/pdf/ciig.pdf.
25   //
26   //
27   //
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     PETERS DECLARATION IN SUPPORT OF ORACLE’S OPENING CLAIM CONSTRUCTION BRIEF                           1
     CASE NO. CV 10-03561 WHA
     pa-1450902
       Case 3:10-cv-03561-WHA Document 95 Filed 03/17/11 Page 3 of 3



 1          8.     Attached hereto as Exhibit 8 is a true and correct copy of relevant pages from the
 2   MICROSOFT PRESS COMPUTER DICTIONARY (3d ed. 1997), the ILLUSTRATED DICTIONARY OF
 3   ELECTRONICS (7th ed. 1997), and the IEEE STANDARD DICTIONARY OF ELECTRICAL AND
 4   ELECTRONICS TERMS (6th ed. 1996).
 5

 6          I declare under penalty of perjury under the laws of the United States that to the best of
 7   my knowledge the foregoing is true and correct. Executed on March 17, 2011, in Palo Alto,
 8   California.
 9
                                                       /s/ Marc David Peters
10                                                     Marc David Peters

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     PETERS DECLARATION IN SUPPORT OF ORACLE’S OPENING CLAIM CONSTRUCTION BRIEF                          2
     CASE NO. CV 10-03561 WHA
     pa-1450902
